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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND


 AMERICAN ACADEMY OF
 PEDIATRICS, et al.,

                      Plaintiffs,

             v.                                          Civil Action No. 8:18-cv-883-DLB

 UNITED STATES FOOD AND DRUG
 ADMINISTRATION, et al.,

                      Defendants.


                                         STATUS REPORT
        In accordance with the Court’s revised remedial order (ECF No. 202), Defendants

respectfully report as follows:

        1.        Covered Applications: This report includes information about “Covered

Applications” as defined in Paragraph 7 of the Court’s revised remedial order. The FDA has used

the same method for determining which applications constitute Covered Applications as it did in

its most recent status report (ECF No. 218). Before filing this status report, Defendants conferred

with Plaintiffs, who agreed that the set of brands covered by paragraph 7 of the revised remedial

order is the same as in that status report.

        2.        Overall Progress: The FDA remains committed to completing review of the

applications it has received as soon as feasible to protect and promote the public health. As

projected in Defendants’ most recent status report, the FDA took action on 94% of Covered

Applications by March 31, 2024. The FDA’s best forecast based on current information continues

to be that it will take action on all remaining Covered Applications by June 30, 2024, as explained

in Defendants’ most recent status report.

        3.        In accordance with the Court’s revised remedial order, ECF No. 202, the FDA will

file another status report on or before July 22, 2024.
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DATE: April 19, 2024                             Respectfully submitted,

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